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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION AT COLUMBUS

United States of America

-vs-                                                      Case No. 2:23-cr-14

Nalah T. Jackson



                                  COURTROOM MINUTES

JUDGE:           Elizabeth A. Preston Deavers   DATE AND TIME:         February 7, 2024
                                                                       At 2:00 PM

DEPUTY CLERK:    Sherry Nichols                 COUNSEL FOR GOVT:      Emily Czerniejewski
                                                                       Noah Litton

COURT            Lahana DuFour                  COUNSEL FOR DEFT(S).   Stacey MacDonald
REPORTER:                                                              Soumyajit Dutta

INTERPRETER:                                    PRETRIAL/PROBATION:



Change of Plea Hearing

-Dft consents to pleading before a U.S. Magistrate Judge
-Dft sworn in
-Court finds dft is competent to enter a plea
-Dft pleads guilty
-PSI Ordered
-R&R to be issued
-Dft motions Court to recommend to USMS that Dft be housed at either Butler County or
CCNO; Court makes recommendation
-Dft remanded
